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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________

UNITED STATES OF AMERICA,

               Plaintiff,                                             Case No. 1:03-CR-165

v.                                                                    HON. GORDON J. QUIST

DERRICK T. PEOPLES #11538-040,

            Defendant.
__________________________________/

        ORDER DENYING EARLY TERMINATION OF SUPERVISED RELEASE

        Defendant, Derrick T. Peoples, has requested an early termination of supervised release.

(ECF No. 154). In support of his request, Peoples states that since he began serving his term of

supervised release on October 31, 2019, he has maintained employment, started an online business,

enrolled in Grand Rapids Community College, and complied with all conditions of his supervised

release.

        Section 3583(e) of Title 18 of the United States Code provides for modification and

termination of a term of supervised release. After considering statutory factors in § 3553(a), a court

may terminate a term of supervised release after one year of supervised release if the court finds

that early termination “is warranted by the conduct of the defendant released and the interest of

justice.” 18 U.S.C. § 3583(e)(1). “Early termination of supervised release is a discretionary

decision that is only warranted in cases where the defendant shows changed circumstances – such

as exceptionally good behavior.” United States v. Atkin, 38 F. App’x 196, 198 (6th Cir. 2002).

But, “mere compliance with the conditions of release is not enough to merit early termination of

supervised release because ‘[m]odel prison conduct and full compliance with the terms of
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supervised release is what is expected of a person under the magnifying glass of supervised

release.’” United States v. Mathis-Gardner, 110 F. Supp. 3d 91, 93-94 (D.D.C. 2015) (quoting

United States v. McKay, 352 F. Supp. 2d 359, 361 (E.D.N.Y. 2005)).

       Peoples is eligible for an early termination of supervised release because he has served

approximately 15 months. As the government noted, Peoples has behaved in an exemplary manner

thus far. The Court commends Peoples on his accomplishments and encourages him to continue

his life as a law abiding, productive citizen. However, adherence to the rules and requirements of

supervised release are expected of all those subject to supervised release. Further, Peoples has not

yet served half of his four-year supervision term. The Court agrees with the government that

supervision appears to be working and it is too early to terminate supervision at this time. Peoples

can file another request for termination in the future.

       Accordingly, IT IS HEREBY ORDERED that Peoples’ request for an early termination

of supervised release (ECF No. 154) is denied.


Dated: February 26, 2021                                         /s/ Gordon J. Quist
                                                                GORDON J. QUIST
                                                          UNITED STATES DISTRICT JUDGE




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